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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                    Case No.: 1:10-cr-146-02
v.
                                                    HONORABLE PAUL L. MALONEY
MICHELLE ANN BALDWIN,

                Defendant.
                               /


                        ORDER ADOPTING MAGISTRATE JUDGE'S
                           REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation (Dkt. #120) filed by United States

Magistrate Judge Ellen S. Carmody in this action. The Report and Recommendation was duly

served on the parties. No objections have been filed.

         ACCORDINGLY, the Report and Recommendation is hereby adopted as the opinion of the

Court.

         THEREFORE, IT IS ORDERED that the defendant's Motion to Dismiss the Indictment

for Violations of the Speedy Trial Act (Dk.t #107) is DENIED for the reasons stated in the Report

and Recommendation.




Dated: July 28, 2011                                /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    Chief United States District Judge
